                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
                       v.                              )      No.   07-4047-02-CR-C-SOW
                                                       )
APRIL WILSON                                           )
                                                       )
                               Defendant.              )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant April Wilson, by consent, appeared before the undersigned on August 26,
2008, pursuant to Fed. R. Crim. P. 11, Local Rule 72(j)(26), and 28 U.S.C. § 636, and has
entered a plea of guilty to Count One of the indictment filed on September 21, 2007. After
cautioning and examining the defendant, under oath, concerning each of the subjects mentioned
in Rule 11, it was determined that the guilty plea was knowledgeable and voluntary as to each
count, and that the offense to which the defendant has plead guilty is supported by a factual basis
for each of the essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Wilson be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 26th day of August, 2008, at Jefferson City, Missouri.



                                                /s/   William A. Knox
                                                WILLIAM A. KNOX
                                                United States Magistrate Judge




        Case 2:07-cr-04047-NKL              Document 47     Filed 08/26/08       Page 1 of 1
